USCA4 Appeal: 25-1404    Doc: 9        Filed: 04/17/2025   Pg: 1 of 1




                                                                        FILED: April 17, 2025


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


                                     ___________________

                                          No. 25-1404
                                      (8:25-cv-00951-PX)
                                     ___________________

        KILMAR ARMANDO ABREGO GARCIA; JENNIFER STEFANIA VASQUEZ
        SURA; A.A.V., a minor, by and through his next friend and mother, Jennifer
        Vasquez Sura

                     Plaintiffs - Appellees

        v.

        KRISTI NOEM; TODD LYONS; KENNETH GENALO; NIKITA BAKER;
        PAMELA JO BONDI; MARCO RUBIO

                     Defendants - Appellants

                                     ___________________

                                          ORDER
                                     ___________________

              Upon consideration of the motion for leave to file an amicus curiae brief by

        Joseph Dudek in support of appellees, the court denies the motion as moot.

                                               For the Court

                                               /s/ Nwamaka Anowi, Clerk
